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From: Paul Lund

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEKAS
DALLAS DIVISION |
UNITED STATES OF AMERICA

NO, 3:20-CR-00412-B
Vv.

DAMIEN WILLIAMS

FACTUAL RESUME

Jo support of Damien Williams’s plea of guilty to Count One of the indictment,
Damien Williams, the defendant, Paul Taliaferro Lund, the defendants allerney, and the
United States of America (the “governmeni”) stipulate and agree to the lollowing:

ELEMENTS OF THE O FFENSE

Altempted Child Sex Trafti cking |
(Violation of 18 U.S.C. § 1594(a) (18 U.S.C. § IS91 (a(t) & (b)(2))

To prove the offense alleged in C

ount One of the indictment, charging a violation

of 18 TLS.C. § 1394(a) (18 U.S.C. § 159 1(ay(1) & (b)(2)), Attempted Child Sex
‘Trafficking, the governinenl must prove each of the following elements beyond a
reasonable doubt:

First, that the defendant intended to commit child sex trafficking: and
Second, that the defendant did an
towards the commission of that ¢
defendant’s criminal intent and ai

act that constitutes a substantial step
rime and that strongly corroborates the
Mounts to more than mere preparation, !

' See Fifth Cirouit Pattern Jury Instruction (Crim.) 1.34 (2019).

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To prove the substantive offense of Child Sex Trafficking in violation of 18

US.C. § 159] (afl) & (b)(2), the government must prove each of the following elements

beyond a reasonable doubt:

first, that the defendant knowingly recruited, enticed, harbored,
transported, provided, obtained, maintained, advertised, iInaintained,
patronized, and solicited by any means a person;

Second, that the defendant committed such act knowing or in reckless
disregard of the fact that the person had not attained the age of 18 years and
would be caused to engage in a commercial sex act; and

Third, that the defendant’s acts were in or affected interstate commerce.

STIPULATED FACTS

1. Damien Williams admits and agrees that, between of or about June 20,
2026, and on or about J uly 28, 2020, in ihe Dallas Division of the Northern District of
Texas, in and affecting interstate commerce, he did knowingly attem pt to recruit, entice,
harbor, transport, provide, obtain, advertise, maintain, patronize, and solicit by any means
4 person, who had not attained the age of 18 years, knowing that the person had not
attained the age of 18 years and would be caused to ongage in a commercial sex act.

2. Specifically, on June 20, 2020, Williams initj ated communication with an
account on a social media website that was maintained by a Homeland See urity
Investigations (HSD) undercover agent (UCA) representing as a 16-year-old female. In a
scries of communications beginning on June 20, 2020, and ending on July 28, 2020,

Williams attempted to recruit the UCA to engage in commercial sex at his direction,

* See Fifth Circuit Pattern Jury Instruction (Crim.) 2.68 (201 9),

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When the UCA told Williams that he / she was 16 years old, Williams responded, “Lord

haff mercy... . U tryna send me to jail.” He then asked the UCA| to “Send me sum pics,”

3, On July 6, 2020, Williams posted a commercial sex advertisement on
skipthegames.com that listed the sexual services available and contained the telephone
number that Williams had oblained from the UGCA, Williams direbted the UCA about the
prices for commercial sex acts and told the UCA “to Stay in constant contact with me”
and “Etrytime u bout to £0 on a date u text me.”

4, Also on July 6, 2020, Williams provided instructions for the electronic
transfer of the commercial sex proceeds, telling the UCA to make 4 Western Union
money transfer and send the proceeds to “Damien Williams” in “Chattanooga
Tennessee,” Williams subsequently expressed frustration that the UCA had not yet
transferred the proceeds, and instructed the UCA to send the proceeds to “Kandi Lucas”
in “Chattanooga Tennessec” using “Walmart 2 Walmart” or a Western Union money
transfer. On July 10, 2020, the UCA subsequently transferred $650 in proceeds in
accordance with Williams’s instructions. Williams confirmed that he received the
proceeds.

5, On July 13, 2020, Williams posted a second commercial sex advertisement
on lagged.com. Once again, the advertisement listed the sexual services available and
directed customers to the telephone number provided by the UCA,

6. The following day, Williams asked the UCA “[d]id u get any calls” and
“[h]oe much did u make” in comniercial sex proceeds. The UCA responded, “500 last

night.” Williams instructed the UCA to send the commercial Sex proceeds to “Susan

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Cocke” vie Walmart money transfer. On July 16, 2020, the UCA transferred $500 in
proceeds in accordance with Williams’s instructions.

7. Williams admits and agrees that he intended to commit the crime of child
Sex trafficking, and that he took humerous substantial steps toward the conimission of
that crime, including by posting commercial sex advertisements,

8. Williams admits and agrees that he knowingly attempted to recruit, entice,
harbor, transport, provide, obtain, maintain, advertise, maintain, patronize, and solicit the
HSI UCA, and that he committed such acts knowing that the UCA had not attained the
age of 18 years and would be caused to engage in a commercial sek act.

v, Williams further admits and agrees that he used the Internet and cellular
telephones to engage in the offense conduct, and thus his acts were in and affected
interstate commerce,

10. Williams further admits and agrees that UCA chats in this case were
conducted in the Dallas Division of the Northern District of Texas and elsewhere.

if. Williams agrees that he committed all the essential elements of the offenses
to which he is pleading guilty. This factual resume is not intended to be a complete
accounting of all the facts and events related to the offenses charged in this case. The
limited purpose of this Statement of facts is to demonstrate that a factual basis exists to

support the defendant's guilty plea to Count One of the indictment.

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AGREED TO AND STIPULATED on this Uday of Januidey 369 1,

MIEN WILLIAMS 7
Defendant

‘AUL TALIAFERRO LUND
Attorney for Defendant

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